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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



JOHN HEYKOOP,

                Plaintiff,
                                                              CASE NO. 1:18-CV-632
v.
                                                              HON. ROBERT J. JONKER
MICHIGAN STATE POLICE, et al.,

            Defendants.
__________________________________/

                ORDER SETTING RULE 16 SCHEDULING CONFERENCE

         IT IS HEREBY ORDERED:

         1.     Rule 16 Scheduling Conference: A scheduling conference under Fed. R. Civ. P.
16 is scheduled for August 3, 2018 at 3:00 p.m., before the Honorable Robert J. Jonker,
Courtroom 699, Ford Federal Building, 110 Michigan, N.W., Grand Rapids, Michigan.
         2.     Matters to be Considered at the Scheduling Conference: The purpose of the
scheduling conference is to review the joint status report and to explore methods of expediting the
disposition of the action by: establishing early and ongoing case management; discouraging
wasteful pretrial activities; establishing limitations on discovery; facilitating the settlement of a
case; establishing an early, firm trial date; and improving the quality of the trial through thorough
preparation.
         3.     Presumptive Disclosures and Discovery Limitations: Under Rules 26, 30 and 33,
of the Federal Rules of Civil Procedure, the Court normally requires the following in the absence
of good cause for deviation:
         (a)    All Rule 26(a) disclosures will apply. Rule 26(a)(1) and Rule 26(a)(2)
         disclosures will be required before the end of discovery. Rule 26(a)(3) pretrial
         disclosures will apply and, in addition, the Court will require a preliminary lay
         witness disclosure during the discovery period. Rule 26(e) applies and governs the
         duty to supplement disclosures and discovery responses.
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               (b)Interrogatories will be limited to 25 per side and depositions will be
       limited to 10 per side, each of no more than 7 hours duration.
Rule 37 sanctions apply to disclosures and discovery responses, including inadequate
supplementation of original disclosures and responses.
       The court normally allows six months for discovery, but will consider a shorter or longer
period at the scheduling conference.
       4.      Meeting of Parties and Preparation of Joint Status Report: At least seven days
before the Rule 16 conference, counsel (or unrepresented parties) shall meet to discuss the
following: the nature and basis of the parties' claims and defenses, the possibilities for a prompt
settlement or resolution of the case, the formulation of a discovery plan, and the other topics listed
below. Plaintiff shall be responsible for scheduling the meeting, which may be conducted in
person or by telephone. After the meeting, the parties shall prepare a joint status report which
must be e-filed no later than July 27, 2018. The following form shall be used:
               A Rule 16 Scheduling Conference is scheduled for __________, before the
               Hon. _____________________. Appearing for the parties as counsel will
               be:

                       (List the counsel who will attend the scheduling conference.
                       Counsel for all parties must attend. Parties not represented
                       by counsel must appear in person. Parties who are
                       represented are encouraged, but not required, to attend).

               (1)     Jurisdiction: The basis for the Court's jurisdiction is:

                       (Set forth a statement of the basis for the Court's
                       jurisdiction. Indicate all objections. State whether
                       the case includes any pendent state law claims.)

               (2)     Jury or Non-Jury: This case is to be tried (before a
                       jury/before the court as trier of law and fact.)

               (3)     Judicial Availability: The parties [agree] [do not agree] to
                       have a United State Magistrate Judge conduct any and all
                       further proceedings in the case, including trial, and to order
                       the entry of final judgment. [Note to Counsel: If the parties
                       consent to the jurisdiction of a magistrate judge, pursuant to
                       28 U.S.C. § 636(c), and so state in the Joint Status Report,
                       an Order of Reference will be issued transferring the matter
                       to the magistrate judge and allowing appeals to be taken to
                       the United States Court of Appeals for the Sixth Circuit, in
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                accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73
                (c).]

          (4)   Statement of the Case: This case involves:

                (Set forth a brief description of the claims and defenses,
                sufficient to acquaint the Court with the general nature of the
                case, as well as the factual and legal issues requiring judicial
                resolution.)

          (5)   Joinder of Parties and Amendment of Pleadings: The parties
                expect to file all motions for joinder of parties to this action
                and to file all motions to amend the pleadings by
                _______________.

          (6)   Disclosures and Exchanges:

                Rule 26(a) mandates particular disclosures that apply on a
                self executing timetable in the absence of contrary court
                order. Describe in the Joint Status Report what the parties
                propose regarding these categories of disclosure. In
                addition, this Court will require a preliminary disclosure of
                potential lay witnesses earlier than Rule 26(a)(3) would
                otherwise require. Propose a date for this disclosure in the
                Joint Status Report. NOTE: Rule 26(e) provides the duty to
                supplement applicable disclosures and discovery responses.
                All parties must comply with this duty, and Rule 37
                sanctions apply.

                (i)     Fed.R.Civ.P. 26(a)(1) disclosures:
                        [Propose deadlines and describe any objections.]

                (ii)    Fed.R.Civ. P. 26(a)(2) disclosures:
                        [Propose deadlines and describe any objections.]

                (iii)   Fed.R.Civ.P. 26(a)(3) disclosures:
                        [Propose deadlines and describe any objections.]

                (iv)    The parties have agreed to make available the following
                        documents without the need of a formal request for production:

                        From plaintiff to defendant by _______: (describe documents)
                        From defendant to plaintiff by _______: (describe documents)

                                               -OR-
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                        The parties are unable to agree on voluntary production at this time.

                 (v)    Initial Disclosure of potential lay witnesses:
                        [Propose deadlines and describe any objections.]

          (7)    Discovery: The parties believe that all discovery proceedings can
                 be completed by _________. The parties recommend the following
                 discovery plan:

                 (As required by Fed. R. Civ. P. 26(f), set forth proposed plan
                 of discovery, including subjects on which discovery may be
                 needed and whether discovery should be conducted in
                 phases or be limited to or focused on certain issues. Also set
                 forth any recommendations as to limitations on discovery.
                 Limitations may include the number of depositions,
                 interrogatories, and requests for admissions, or limitations
                 on the scope of discovery pending resolution of dispositive
                 motions or alternative dispute resolution proceedings. State
                 whether the presumptive limits for interrogatories; (Rule
                 33(a) (25 single part questions)) and depositions (Rule
                 30(a)(2)(A) (10 depositions per side); Rule 30(d)(1) (one day
                 of seven hours per witness)) should be modified in this case.

          (8)    Motions: The parties anticipate that all dispositive motions
                 will be filed by __________. The parties acknowledge that
                 it is the policy of this Court to prohibit the consideration of
                 non-dispositive discovery motions unless accompanied by a
                 certification that the moving party has made a reasonable
                 and good faith effort to reach agreement with opposing
                 counsel on the matters set forth in the motion.

          (9)    Alternative Dispute Resolution: The parties recommend that
                 this case be submitted to the following method(s) of
                 alternative dispute resolution:

                 (Set forth each party's position with respect to the preferred
                 method, if any, of alternative dispute resolution. Methods
                 used in this district include, but are not limited to, voluntary
                 facilitative mediation (W.D. Mich. LCivR 16.3), early
                 neutral evaluation (W.D. Mich. LCivR 16.4), and case
                 evaluation (MCR 2.403 and W.D. Mich. LCivR 16.5).)

                 See the court’s web site (www.miwd.uscourts.gov) for the
                 local rules regarding all forms of ADR used in this district
                 and for lists of mediators, case evaluators, and arbitrators.

          (10)   Length of Trial: Counsel estimate the trial will last
                 approximately _____ days, total, allocated as follows:
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                        ____ days for plaintiff’s case, ____ days for defendant’s case,
                        ____ days for other parties.

                 (11)   Prospects of Settlement: The status of settlement negotiations is:

                        (Indicate persons present during negotiations, progress
                        toward settlement, and issues that are obstacles to
                        settlement.)

                 (12)   Electronic Document Filing System: Counsel are reminded
                        that Local Civil Rule 5.7(a) now requires that attorneys file
                        and serve all documents electronically, by means of the
                        Court’s CM/ECF system, unless the attorney has been
                        specifically exempted by the Court for cause or a particular
                        document is not eligible for electronic filing under the rule.
                        The Court expects all counsel to abide by the requirements
                        of this rule. Pro se parties (litigants representing themselves
                        without the assistance of a lawyer) must submit their
                        documents to the Clerk on paper, in a form complying with
                        the requirements of the local rules. Counsel opposing a pro
                        se party must file documents electronically but serve pro se
                        parties with paper documents in the traditional manner.

                 (13)   Other: Set forth any special characteristics that may warrant
                        extended discovery, accelerated disposition by motion, or
                        other factors relevant to the case.

         The joint status report shall be approved by all counsel of record and by any party who
represents him or herself.
         5.      Order of Referral: A United States Magistrate Judge may be designated to assist in
the processing of this case, and is invested by the powers conferred under 28 U.S.C.
§ 636(b)(1)(A).
         6.      Case Manager: Any question concerning this Order or the scheduling conference
should be directed to Susan Driscoll Bourque, Case Manager, at (616) 456-2327.



Dated:        June 26, 2018                    /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
